     Case 1:15-cv-01314-EGB Document 5 Filed 12/18/15 Page 1 of 2




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                                   RI qcourt
                                 No. 15-1314C
                          (Filed: December 18, 2015)

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BRIAN L. SNOKE,

                      Plaintiff,
                                                                  FILED
                                                                DEC 1 BI.r.   1r.:
                                                                              .:)
v.
                                                               U.S. COURT OF
                                                             FEDERAL CLAIMS
THE UNITED STATES,

                      Defendant.

************* ******

                                     ORDER


        Plaintiff, appearing pro se, filed a document entitled "Extra
Administrative Petition for Writ of Habeas Corpus, which the clerk's office
docketed as a new complaint on November 2, 2015 .1 That document is a pre-
printed form for submitting pro se habeas corpus petitions in the state court
system of California. It contains open spaces for prisoners to submit the
necessary information for a habeas petition. The verbiage supplied by plaintiff
in this document is completely unintelligible. We are unable to discern any
cognizable legal claim, let alone a claim within the jurisdiction of this court.
We musttherefore dismiss this case for want ofjurisdiction. See Rule 12(h)(3)
of the Rules of the United States Court of Federal Claims.

       Plaintiff also attempted to file a document entitled "Application Exparte
for local court rules and modification of responsive and traversive pleading
time limits," which the clerk's office declined to file due to several procedural


1
 Plaintiff filed a prior complaint in this court in 2014, which was dismissed for
lack of jurisdiction on January 26, 2015. Snoke v. United States, No. 14-1197
(Fed. Cl. Jan 26, 2015) (unpublished opinion dismissing complaint).
  Case 1:15-cv-01314-EGB Document 5 Filed 12/18/15 Page 2 of 2



defects. Although this might be construed as a request for a copy of the rules,
it would make no difference even considering plaintiffs prose status. It is
thus to be returned unfiled.

       Accordingly, the following is ordered:

       1. The Clerk is directed to return the document received on December
       7, 2015 unfiled.

       3. The Clerk is directed to dismiss the complaint for lack of subject
       matter jurisdiction and enter judgment accordingly. No costs.



                                          fu.~
                                           Judge




                                      2
